                          Case 23-11962-TMH               Doc 165        Filed 01/11/24         Page 1 of 24




                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


              In re:                                                    Chapter 11

              NEAR INTELLIGENCE, INC., et al.,1                         Case No. 23-11962 (TMH)

                                          Debtors.                      (Jointly Administered)

                                                                        Hearing Date:
                                                                        February 1, 2024 at 10:00 a.m. (ET)

                                                                        Objection Deadline:
                                                                        January 25, 2024 at 4:00 p.m. (ET)

                 DEBTORS’ MOTION FOR ENTRY OF AN ORDER (I) APPROVING THE
              COMBINED DISCLOSURE STATEMENT AND PLAN ON AN INTERIM BASIS
              FOR SOLICITATION PURPOSES ONLY; (II) ESTABLISHING SOLICITATION
             AND TABULATION PROCEDURES; (III) APPROVING THE FORM OF BALLOTS
                 AND SOLICITATION MATERIALS; (IV) ESTABLISHING THE VOTING
                 RECORD DATE; (V) FIXING THE DATE, TIME, AND PLACE FOR THE
                COMBINED HEARING AND THE DEADLINE FOR FILING OBJECTIONS
                        THERETO; AND (VI) GRANTING RELATED RELIEF

                   The debtors and debtors in possession (the “Debtors”) in the above-captioned cases hereby

         submit this motion (the “Motion”) for entry of an order, substantially in the form attached hereto

         as Exhibit A (the “Proposed Solicitation Procedures Order”), (i) approving the Combined

         Disclosure Statement and Chapter 11 Plan of Near Intelligence, Inc. and Its Affiliated Debtors

         [Docket No. 22] (as may be amended, modified, or supplemented, the “Combined Disclosure

         Statement and Plan”),2 filed on the Petition Date, on an interim basis and for solicitation purposes

         only; (ii) establishing procedures for the solicitation and tabulation of votes to accept or reject the


         1
               The Debtors in these chapter 11 cases, along with the last four digits of their federal tax identification numbers,
               to the extent applicable, are Near Intelligence, Inc. (7857), Near Intelligence LLC (7857), Near North America,
               Inc. (9078), and Near Intelligence Pte. Ltd. The Debtors’ headquarters is located at 100 W Walnut St., Suite A-
               4, Pasadena, CA 91124.
         2
               Capitalized terms used herein but not otherwise defined herein shall have the meanings ascribed to them in the
               Combined Disclosure Statement and Plan.
30997546.2
                      Case 23-11962-TMH           Doc 165      Filed 01/11/24     Page 2 of 24




         Combined Disclosure Statement and Plan; (iii) approving the form of ballots and solicitation

         materials; (iv) establishing a voting record date; (v) fixing the date, time, and place for the

         combined hearing (the “Confirmation Hearing”) to approve and confirm the Combined Disclosure

         Statement and Plan, including the adequacy of the disclosures therein, and establishing the

         deadline for filing objections related thereto; and (vi) granting related relief. In support of this

         Motion, the Debtors respectfully state as follows:

                                          JURISDICTION AND VENUE

                1.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

         jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

         Order of Reference from the United States District Court for the District of Delaware, dated

         February 29, 2018. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)

         and, pursuant to Rule 9013-1(f) of the Local Rules of Bankruptcy Practice and Procedure of the

         United States Bankruptcy Court for the District of Delaware (the “Local Rules”), the Debtors

         consent to the entry of a final order by the Court in connection with this Motion to the extent that

         it is later determined that the Court, absent the consent of the parties, cannot enter final orders or

         judgments in connection herewith consistent with Article III of the United States Constitution.

                2.      Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                3.      The statutory and legal predicates for the relief requested herein are sections 105,

         1125, 1126, and 1128 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532

         (the “Bankruptcy Code”), Rules 2002(b), 3017, 3018, and 3020 of the Federal Rules of Bankruptcy

         Procedure (the “Bankruptcy Rules”), and Local Rule 3017.




30997546.2
                                                           2
                         Case 23-11962-TMH             Doc 165       Filed 01/11/24        Page 3 of 24




                                                       BACKGROUND

         A.       General

                  4.       On December 8, 2023 (the “Petition Date”), the Debtors each filed voluntary

         petitions under chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”) in the Court. The

         Debtors are authorized to operate their business and manage their properties as debtors and debtors

         in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

                  5.       On December 22, 2023, the Office of the United States Trustee appointed an official

         committee of unsecured creditors in the Chapter 11 Cases. See Docket No. 85. No request has

         been made for the appointment of a trustee or an examiner.

                  6.       Additional information regarding the Debtors, including their business operations,

         their corporate and capital structure, and the circumstances leading to the filing of these Chapter

         11 Cases, is set forth in detail in the Declaration of John Faieta in Support of the Debtors’ Chapter

         11 Petitions and First Day Motions (the “First Day Declaration”) [Docket No. 14].3

         B.       The Combined Disclosure Statement and Plan

                  7.       The Combined Disclosure Statement and Plan is a liquidating plan that provides for

         the satisfaction of all Allowed Administrative, Other Secured, and Priority Claims, and the vesting

         and transfer of the Litigation Trust Assets to the Litigation Trust for ultimate distribution to the

         Debtors’ creditors in accordance with the Combined Disclosure Statement and Plan and the

         priority scheme of the Bankruptcy Code. The Combined Disclosure Statement and Plan complies

         with section 1129(a)(9) of the Bankruptcy Code and does not provide for any non-consensual

         releases. The Debtors are the proponents of the Combined Disclosure Statement and Plan and




         3
              Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
              First Day Declaration or Combined Disclosure Statement and Plan, as applicable.
30997546.2
                                                                 3
                         Case 23-11962-TMH            Doc 165        Filed 01/11/24     Page 4 of 24




         seek a combined hearing because they believe that the Combined Disclosure Statement and Plan

         provides, under the circumstances, the most efficient and value maximizing means to conclude the

         Chapter 11 Cases following the sale process.

                                                  RELIEF REQUESTED

                   8.      By this Motion, the Debtors seek entry of the Proposed Solicitation Procedures

         Order: (i) approving the Combined Disclosure Statement and Plan, on an interim basis for

         solicitation purposes only; (ii) establishing procedures for the solicitation and tabulation of votes

         to accept or reject the Combined Disclosure Statement and Plan; (iii) approving the form of Ballots

         (as defined below), solicitation materials and other notices and forms; (iv) establishing a voting

         record date; (v) fixing the date, time, and place for the Confirmation Hearing and establishing the

         deadline for filing objections related to confirmation of the Combined Disclosure Statement and

         Plan; and (vi) granting related relief. A summary of the key dates proposed to be established by

         the Proposed Solicitation Procedures Order, subject to the Court’s availability, is set forth below:

                                  Event                                            Proposed Date4
             Voting Record Date                                     January 30, 2024
             Service Date (as defined below)                        On or before two (2) business days after entry
                                                                    of the Solicitation Procedures Order (or as soon
                                                                    as reasonably practicable thereafter), which is
                                                                    expected to be February 5, 2024
             Publication Deadline                                   On or before five (5) business days after the
                                                                    Service Date
             Deadline to File and Serve Plan Supplement             February 26, 2024
             Deadline to File Rule 3018 Motions                     February 29, 2024
             Deadline to Object to Confirmation and                 March 4, 2024 at 4:00 p.m. (ET)
             Final Approval of Adequacy of Disclosures
             Voting Deadline                                        March 4, 2024 at 5:00 p.m. (ET)


         4
               The proposed dates are based on the Proposed Solicitation Procedures Order being entered by the Court on
               February 1, 2024.
30997546.2
                                                                4
                         Case 23-11962-TMH          Doc 165       Filed 01/11/24    Page 5 of 24




             Deadline to File (i) Voting Declaration and March 7, 2024 at 12:00 p.m. (ET)
             (ii) Reply in Support of Confirmation and
             Final Approval of Adequacy of Disclosures
             Proposed Confirmation Hearing Date                  March 11, 2024

                   9.     The related exhibits annexed to the Proposed Solicitation Procedures Order and

         cited throughout this Motion are as follows:

                                Exhibit                                            Number
             Class 3 Ballot (Prepetition Loan Claims)                             Exhibit 1-A
             Class 4 Ballot (General Unsecured Claims)                            Exhibit 1-B
             Confirmation Notice                                                   Exhibit 2
             Opt-Out Election Form                                                 Exhibit 3
             Publication Notice                                                    Exhibit 4

                                                 BASIS FOR RELIEF

         A.        Interim Approval of the Combined Disclosure Statement and Plan for Solicitation
                   Purposes

                   10.    Section 1125 of the Bankruptcy Code requires that a disclosure statement be

         approved by the bankruptcy court as containing “adequate information” prior to a debtor’s

         solicitation of acceptances or rejections of a plan. 11 U.S.C. § 1125(b). “Adequate information”

         is defined in the Bankruptcy Code as:

                          information of a kind, and in sufficient detail, as far as is reasonably
                          practicable in light of the nature and history of the debtor and the
                          condition of the debtor’s books and records . . . that would enable
                          such a hypothetical investor of the relevant class to make an
                          informed judgment about the plan . . . .

         11 U.S.C. § 1125(a)(1).

                   11.    In evaluating whether a disclosure statement provides “adequate information,”

         courts adhere to Bankruptcy Code’s instruction that making this determination is a flexible

         exercise based on the facts and circumstances of each case and is within the broad discretion of

         the court. See, e.g., Krystal Cadillac-Oldsmobile GMC Truck, Inc. v. Gen. Motors Corp., 337 F.3d


30997546.2
                                                             5
                       Case 23-11962-TMH           Doc 165      Filed 01/11/24     Page 6 of 24




         314, 321–22 (3d Cir. 2003); see also Oneida Motor Freight, Inc. v. United Jersey Bank, 848 F.2d

         414, 417 (3d Cir. 1988) (“From the legislative history of § 1125 we discern that adequate

         information will be determined by the facts and circumstances of each case.”); First Am. Bank of

         New York v. Century Glove, Inc., 81 B.R. 274, 279 (D. Del. 1988) (noting that adequacy of

         disclosure for a particular debtor will be determined based on how much information is available

         from outside sources); S. Rep. No. 95-989, at 121 (1978), reprinted in 1978 U.S.C.C.A.N. 5787,

         5907 (“[T]he information required will necessarily be governed by the circumstances of the

         case.”); In re Ferretti, 128 B.R. 16, 19 (Bankr. D.N.H. 1991) (stating that a disclosure statement

         “must clearly and succinctly inform the average unsecured creditor what it is going to get, when it

         is going to get it, and what contingencies there are to getting its distribution.”).

                 12.     In accordance with these precepts, the Combined Disclosure Statement and Plan

         provides, or will provide at the time of solicitation, the pertinent information necessary for eligible

         Holders of Claims to make an informed decision about whether to vote to accept or reject the

         Combined Disclosure Statement and Plan. Specifically, the Combined Disclosure Statement and

         Plan provides, or will provide at the time of solicitation, among other things, information

         regarding:

                         •       an overview of the major events that occurred prior to, and during
                                 the course of, these Chapter 11 Cases;
                         •       a summary of the classification and treatment of all Classes of
                                 Claims and Interests under the Combined Disclosure Statement and
                                 Plan;
                         •       an estimate of distributions to the Holders of Allowed Claims
                                 pursuant to the Combined Disclosure Statement and Plan;
                         •       the provisions governing distributions under the Combined
                                 Disclosure Statement and Plan; and
                         •       the means for implementation of the Combined Disclosure
                                 Statement and Plan.


30997546.2
                                                            6
                      Case 23-11962-TMH         Doc 165      Filed 01/11/24    Page 7 of 24




                13.     The Debtors respectfully submit that the Combined Disclosure Statement and Plan

         complies with all aspects of section 1125 of the Bankruptcy Code. However, at the hearing on this

         Motion—which is scheduled for February 1, 2024—the Debtors seek only interim approval of the

         Combined Disclosure Statement and Plan for solicitation purposes. At the Confirmation Hearing,

         the Debtors will demonstrate on a final basis that the information set forth therein contains

         adequate information within the meaning of section 1125 of the Bankruptcy Code.

                14.     The Debtors filed this Motion and are seeking approval of the procedures and

         timeline requested herein because, among other reasons, the Debtors desire to exit from bankruptcy

         promptly following the closing of a sale of their assets in an efficient manner that will maximize

         value for the benefit of all stakeholders. To ensure that the Combined Disclosure Statement and

         Plan is confirmed in a timely and efficient manner, the Debtors have determined, in their business

         judgment, that it is necessary and prudent to proceed with a combined plan and disclosure

         statement process on the timeline proposed herein. Accordingly, the Debtors respectfully request

         that the Court enter the Proposed Solicitation Procedures Order approving, among other things,

         the Combined Disclosure Statement and Plan on an interim basis for solicitation purposes only.

                15.     Any objections or proposed modifications to the interim approval of the Combined

         Disclosure Statement and Plan shall (a) be in writing, (b) comply with the Bankruptcy Rules and

         Local Rules, and (c) be filed with the Clerk of the Court, 824 North Market Street, 3rd Floor,

         Wilmington, Delaware 19801, with a copy served upon the following (collectively, the “Notice

         Parties”): (i) co-counsel for the Debtors, (a) Willkie Farr & Gallagher LLP, 787 Seventh Avenue,

         New York, NY 10019, Attn: Rachel C. Strickland, Esq. (rstrickland@willkie.com), Andrew S.

         Mordkoff, Esq. (amordkoff@willkie.com), and Joseph R. Brandt, Esq. (jbrandt@willkie.com) and

         (b) Young Conaway Stargatt & Taylor, LLP, Rodney Square, 1000 North King Street,


30997546.2
                                                         7
                           Case 23-11962-TMH          Doc 165       Filed 01/11/24     Page 8 of 24




         Wilmington, Delaware 19801, Attn: Edmon L. Morton, Esq. (emorton@ycst.com), Matthew B.

         Lunn, Esq. (mlunn@ycst.com), Shane M. Reil, Esq. (sreil@ycst.com), and Carol E. Cox, Esq.

         (ccox@ycst.com); (ii) proposed counsel to the Committee, DLA Piper LLP (US), 1251 Avenue of

         the Americas, 27th Floor, New York, NY 10020-1104, Attn: Dennis O’Donnell, Esq.

         (dennis.odonnell@us.dlapiper.com); (iii) counsel for (a) the Prepetition First Lien Agent for the

         Prepetition First Lien Lenders and (b) the DIP Agent for the DIP Lenders, (x) King & Spalding

         LLP, 1185 Avenue of the Americas, 34th Floor, New York, New York 10036, Attn: Roger

         Schwartz, Esq. (rschwartz@kslaw.com), Geoffrey King, Esq. (gking@kslaw.com), and Miguel

         Cadavid, Esq. (mcadavid@kslaw.com), and (y) Morris, Nichols, Arsht & Tunnell LLP, 1201 N.

         Market          St.,     #1600,    Wilmington,    DE       19801,     Attn:   Robert     Dehney,       Esq.

         (rdehney@morrisnichols.com), Matthew Harvey, Esq. (mharvey@morrisnichols.com), Brenna

         Dolphin, Esq. (bdolphin@morrisnichols.com) and Austin Park, Esq. (apark@morrisnichols.com);

         and (iv) the Office of the United States Trustee for the District of Delaware, J. Caleb Boggs Federal

         Building, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE 19801, Attn: Benjamin

         Hackman, Esq. (benjamin.a.hackman@usdoj.gov), in each case no later than January 25, 2024 at

         4:00 p.m. (ET).

         B.        Solicitation Procedures

                            i.        Approval of Form of Solicitation Materials and Ballots

                   16.          Pursuant to the Combined Disclosure Statement and Plan, the Debtors created

         seven (7) separate Classes of Claims and Interests. A chart listing each such Class is below:

              Class                         Type                    Status Under Plan           Voting Status
               1           Priority Non-Tax Claims                  Unimpaired            Deemed to Accept
               2           Other Secured Claims                     Unimpaired            Deemed to Accept
               3           Prepetition Loan Claims                  Impaired              Entitled to Vote

30997546.2
                                                                8
                           Case 23-11962-TMH           Doc 165      Filed 01/11/24    Page 9 of 24




               Class                         Type                   Status Under Plan           Voting Status
                 4         General Unsecured Claims                 Impaired             Entitled to Vote
                 5         Existing Securities Law Claims           Impaired             Deemed to Reject
                 6         Interests                                Impaired             Deemed to Reject
             7A and 7B Intercompany Claims and                      Impaired             Deemed to Reject
                       Intercompany Interests

                     17.     Two Classes are Impaired and entitled to vote to accept or reject the Combined

         Disclosure Statement and Plan—i.e., Class 3 (Prepetition Loan Claims) and Class 4 (General

         Unsecured Claims) (together, the “Voting Classes”). The remaining classes (collectively, the

         “Non-Voting Classes”) are not entitled to vote on the Combined Disclosure Statement and Plan,

         as they are conclusively presumed to have accepted the Combined Disclosure Statement and Plan

         in accordance with section 1126(f) of the Bankruptcy Code (in the case of Class 1 Priority Non-Tax

         Claims and Class 2 Other Secured Claims) or, in the alternative, presumed to have rejected the

         Combined Disclosure Statement and Plan (in the case of Class 5 Existing Securities Law Claims,

         Class 6 Interests, and Classes 7A and 7B Intercompany Claims and Intercompany Interests,

         respectively).

                     18.     Bankruptcy Rule 3017(d) identifies the materials that must be provided to the

         holders of claims and equity interests for purposes of soliciting votes and providing adequate

         notice of the hearing on confirmation of a plan:

                             Upon approval of a disclosure statement,—except to the extent that
                             the court orders otherwise with respect to one or more unimpaired
                             classes of creditors or equity security holders—the debtor in
                             possession, trustee, proponent of the plan, or clerk as the court
                             orders shall mail to all creditors and equity security holders, and in
                             a chapter 11 reorganization case shall transmit to the United States
                             trustee,

                                       (1)    the disclosure statement approved by the court;

                                       (2)    the plan or a court-approved summary of the plan;
30997546.2
                                                                9
                       Case 23-11962-TMH              Doc 165        Filed 01/11/24       Page 10 of 24




                                   (3)      notice of the time within which acceptances and
                                            rejections of the plan may be filed; and

                                   (4)      any other information as the court may direct,
                                            including any court order approving the disclosure
                                            statement or a court-approved summary of the
                                            opinion.

                          In addition, notice of the time fixed for filing objections and the
                          hearing on confirmation shall be mailed to all creditors and equity
                          security holders in accordance with [Bankruptcy] Rule 2002(b), and
                          a form of ballot conforming to the appropriate Official Form shall
                          be mailed to creditors and equity security holders entitled to vote on
                          the plan . . . .

         Fed. R. Bankr. P. 3017(d).

                 19.      The Debtors propose the following materials be mailed on or before two (2)

         business days after the entry of the Proposed Solicitation Procedures Order (or as soon as

         reasonably practicable thereafter) (the “Service Date”), by the Debtors’ claim and voting agent,

         Kroll Restructuring Administration, LLC (the “Voting Agent” or “Kroll”), to the Holders of

         Claims in the Voting Classes as of the Voting Record Date (each a “Solicitation Package”):

                          (a)      the forms of ballots attached to the Proposed Solicitation Procedures Order
                                   as Exhibits 1-A and 1-B, as may be applicable (the “Ballots”);5

                          (b)      the notice of, among other things, the Confirmation Hearing and related
                                   objection procedures (the “Confirmation Notice”), substantially in the form
                                   attached to the Proposed Solicitation Procedures Order as Exhibit 2;

                          (c)      either a paper copy or a copy in “pdf” format on CD-ROM or flash drive of
                                   the Combined Disclosure Statement and Plan (fully compiled with all
                                   exhibits attached);

                          (d)      either a paper copy or a copy in “pdf” format on CD-ROM or flash drive of
                                   the Proposed Solicitation Procedures Order without exhibits;

                          (e)      a pre-paid, pre-addressed return envelope; and



         5
             The Ballots are substantially similar to Official Form No. 14, but have been modified to be consistent with the
             specific provisions of the Combined Disclosure Statement and Plan and the facts of these Chapter 11 Cases.
30997546.2
                                                                10
                      Case 23-11962-TMH         Doc 165       Filed 01/11/24    Page 11 of 24




                        (f)     any other documents and materials that the Debtors, in consultation with the
                                Committee, deem appropriate.

                20.     The Solicitation Package will contain the Combined Disclosure Statement and Plan

         and the Proposed Solicitation Procedures Order (as-entered and without exhibits attached) in

         electronic format (i.e., CD-ROM or flash drive format), as well as all other contents of the

         Solicitation Package, including the applicable Ballot and the Confirmation Hearing Notice, which

         will be provided in paper format. Any party that receives the materials in electronic format but

         would prefer paper format may contact the Voting Agent and request paper copies of the

         corresponding materials previously received in electronic format (to be provided at the Debtors’

         expense) by: (a) writing to Near Intelligence Inc. Ballot Processing Center, c/o Kroll Restructuring

         Administration LLC, 850 Third Avenue, Suite 412, Brooklyn, NY 11232; (b) calling the Debtors’

         restructuring hotline at (844) 344-0799 (U.S./Canada, toll free) or +1 (646) 651-1196

         (international, toll); or (c) emailing Kroll via NearInfo@ra.kroll.com (with “Near Intelligence

         Solicitation Inquiry” in the subject line). You can also contact the Voting Agent via the “Live

         Chat” and “Contact Us” links at the “Info Center” of the Debtors’ restructuring website,

         maintained by the Voting Agent at https://cases.ra.kroll.com/near/. Additionally, the Debtors will

         provide the Solicitation Package (excluding the Ballots) to the U.S. Trustee and all parties

         requesting service of notice pursuant to Bankruptcy Rule 2002 as of the Voting Record Date.

                21.     The Debtors will make reasonable efforts to ensure that any Holder of a Claim that

         has filed duplicative Claims against the Debtors that are classified under the Combined Disclosure

         Statement and Plan in the same Voting Class is entitled to vote only once on account of such Claim

         and with respect to that Class. For the avoidance of doubt, the Debtors seek authorization to

         exclude Ballots from the final tabulation to the extent that they are submitted on account of

         duplicative claims.

30997546.2
                                                         11
                      Case 23-11962-TMH         Doc 165       Filed 01/11/24    Page 12 of 24




                22.     The Debtors additionally propose to publish a notice (the “Publication Notice”),

         substantially in the form annexed to the Proposed Solicitations Procedures Order as Exhibit 4, in

         USA Today (or another national newspaper of like circulation) within five (5) business days after

         the Service Date (or as soon as reasonably practicable thereafter). The Debtors believe that the

         Publication Notice will provide sufficient notice of, among other things, the entry of the Proposed

         Solicitations Procedures Order, the Voting Deadline, the Confirmation Objection Deadline (as

         defined below), and the Confirmation Hearing to parties who did not otherwise receive notice

         thereof by mail.

                23.     The Debtors request that they not be required to transmit Solicitation Packages to

         Holders of Claims or Interests in the Non-Voting Classes. In lieu of Solicitation Packages, the

         Debtors propose to mail to Holders of Claims or Interests in the Non-Voting Classes: (i) the

         Confirmation Notice and (ii) with respect to Holders of Claims or Interests in the Non-Voting

         Classes that are deemed to reject the Combined Disclosure Statement and Plan (i.e., Classes 5, 6,

         7A and 7B), an opt-out election form substantially in the form attached to the Proposed Solicitation

         Procedures Order as Exhibit 3 (the “Opt-Out Election Form”). The Debtors will serve or cause to

         be served the Confirmation Notice and Opt-Out Election Form on Holders of Claims or Interests,

         as applicable, no later than two (2) business days following entry of the Proposed Solicitation

         Procedures Order, or as soon as reasonably practicable thereafter.

                24.     The Confirmation Notice sets forth, among other things, the manner in which a

         copy of the Combined Disclosure Statement and Plan and the Solicitation Procedures may be

         obtained free of charge through the website maintained by the Voting Agent or upon request to the

         Voting Agent. The Confirmation Notice also explains that Holders of Claims or Interests in the

         Non-Voting Classes are not entitled to vote on the Plan. The Opt-Out Election Form provides the


30997546.2
                                                         12
                       Case 23-11962-TMH        Doc 165       Filed 01/11/24   Page 13 of 24




         means by which Holders of Claims or Interests in the Non-Voting Classes that are deemed to reject

         the Combined Disclosure Statement and Plan (i.e., Classes 5, 6, 7A and 7B) may opt-out of the

         releases set forth in the Plan.

                 25.     For purposes of serving the solicitation materials and other forms and notices

         described herein, the Debtors and Voting Agent seek authorization to rely on the address

         information (for voting and non-voting parties alike) maintained by the Debtors or the Prepetition

         agent, as applicable, and provided by the Debtors or the Prepetition Agent to the Voting Agent.

         To that end, the Debtors seek the waiver of any obligation for the Debtors or Voting Agent to

         conduct any additional research for updated addresses based on undeliverable solicitation materials

         (including undeliverable Ballots) and will not be required to resend Solicitation Packages or other

         notices and forms, including Confirmation Notices and Opt-Out Election Forms, that are returned

         as undeliverable unless the Debtors are provided with accurate addresses for such parties prior to

         the Voting Record Date.

                 26.     Notwithstanding anything herein to the contrary, the Debtors request that neither

         they nor the Voting Agent be required to mail a Solicitation Package or any other materials related

         to voting or confirmation of the Combined Disclosure Statement and Plan to any person or entity

         from which the notice of this Motion or other mailed notice in the Chapter 11 Cases was returned

         as undeliverable by the postal service, unless the Voting Agent is provided with accurate addresses

         for such persons or entities before the Voting Record Date.

                 27.     For the avoidance of doubt, a Holder will only be entitled to vote on account of a

         Claim arising from the rejection of an Executory Contract or Unexpired Lease if the Claim is filed

         by the Voting Record Date.




30997546.2
                                                         13
                      Case 23-11962-TMH          Doc 165       Filed 01/11/24    Page 14 of 24




                      ii.       Establishment of the Voting Deadline

                28.     Bankruptcy Rule 3017(c) provides that, “[o]n or before approval of the disclosure

         statement, the court shall fix a time within which the Holders of claims and interests may accept

         or reject the plan . . . .” Fed. R. Bankr. P. 3017(c). The Debtors will finish the solicitation of the

         Combined Disclosure Statement and Plan by mailing the applicable Ballot (and other approved

         solicitation materials) to the Voting Classes no later than two (2) business days after the entry of

         the Proposed Solicitation Procedures Order (or as soon as reasonably practicable thereafter).

         Based on this schedule, the Debtors propose that any Ballot cast must be properly executed,

         completed, and delivered by mail, overnight courier, personal delivery, or E-Ballot (as defined

         below) to the Voting Agent in accordance with the instructions set forth in the Ballot, so that the

         Ballot is actually received no later than 5:00 p.m. (prevailing Eastern Time) on March 4, 2024

         (the “Voting Deadline”). This date will give Holders of Claims in the Voting Classes sufficient

         time to review the solicitation materials and vote.

                29.     In addition to accepting paper Ballots by mail, overnight courier, and personal

         delivery, the Debtors request authorization for the Voting Agent to accept Ballots from Holders of

         Claims in the Voting Classes by electronic Ballot (an “E-Ballot”) transmitted solely through a

         customized online balloting portal on the Debtors’ case website to be maintained by Kroll (the

         “E-Balloting Portal”). Parties entitled to vote may cast an E-Ballot and electronically sign and

         submit the E-Ballot instantly by utilizing the E-Balloting Portal, which allows a Holder to submit

         an electronic signature. The instructions for submission of E-Ballots will be set forth on the E-

         Ballot. The encrypted Ballot data and audit trail created by such electronic submission shall

         become part of the record of any Ballot submitted in this manner and the creditor’s electronic

         signature will be deemed to be immediately legally valid and effective.


30997546.2
                                                          14
                       Case 23-11962-TMH        Doc 165       Filed 01/11/24   Page 15 of 24




         C.     Tabulation Procedures

                30.      The Debtors propose that the following procedures be utilized in tabulating the

         votes to accept or reject the Combined Disclosure Statement and Plan (the “Tabulation

         Procedures”):

                       i.       Establishing Amounts for Voting Purposes.

                Solely for purposes of voting to accept or reject the Combined Disclosure Statement and

         Plan, and not for the purpose of the allowance of, or distribution on account of, any Claim and

         without prejudice to the rights of the Debtors’ and their estates in any other context, the Debtors

         propose that each Claim within the Voting Classes votes in an amount determined by the following

         procedures:

                Class 3 (Prepetition Loan Claims)

                         (a)    The voting amounts of the Class 3 Prepetition Loan Claims will be
                                established based on the amount of the applicable positions held by Holders
                                of the Prepetition Loan Claims, as of the Voting Record Date, as evidenced
                                by the applicable records provided by the Prepetition Agent, as the
                                administrative agent under the Prepetition Financing Documents, in
                                electronic excel format to the Debtors or the Voting Agent not later than
                                one (1) Business Day following the Voting Record Date.

                Class 4 (General Unsecured Claims)

                         (a)    If a Claim is deemed allowed under the Combined Disclosure Statement
                                and Plan, an order of the Court or a stipulated agreement between the
                                parties, such Claim will be temporarily allowed for voting purposes in the
                                deemed allowed amount set forth therein;

                         (b)    if a Claim for which a proof of claim has been timely filed for unknown or
                                undetermined amounts, or is wholly unliquidated or wholly contingent (as
                                determined on the face of the Claim or after a reasonable review of the
                                supporting documentation) and such Claim has not been allowed, such
                                Claim shall be temporarily allowed for voting purposes only, and not for
                                purposes of allowance or distribution, at $1.00;

                         (c)    if a Claim for which a proof of Claim has been timely filed is partially
                                unliquidated or partially contingent (as determined on the face of the Claim
                                or after a reasonable review of the supporting documentation by the Voting
30997546.2
                                                         15
             Case 23-11962-TMH       Doc 165       Filed 01/11/24    Page 16 of 24




                    Agent), such Claim is temporarily allowed in the amount that is liquidated
                    and non-contingent for voting purposes only, and not for purposes of
                    allowance or distribution;

              (d)   if a Claim for which a proof of claim was timely filed and is liquidated and
                    non-contingent or was listed in the Debtor’s schedules of assets and
                    liabilities (the “Schedules”) in an amount that is liquidated, non-contingent,
                    and undisputed, such Claim is allowed for voting purposes only in the
                    amount set forth on the proof of claim, or if no proof of claim was timely
                    filed, the Debtor’s filed Schedules;

              (e)   if a Claim has been estimated or otherwise allowed for voting purposes by
                    order of the Court, such Claim is temporarily allowed in the amount so
                    estimated or allowed by the Court for voting purposes only, and not for
                    purposes of allowance or distribution;

              (f)   if a Claim is listed in the Schedules as contingent, unliquidated, or disputed
                    and a proof of claim was not (i) filed by the Voting Record Date; or
                    (ii) deemed timely filed by an order of the Court prior to the Voting
                    Deadline; such Claim shall be disallowed for voting purposes; provided,
                    however, if the applicable bar date established by the Court for filing proofs
                    of claim has not yet passed, such Claim shall be entitled to vote at $1.00.

              (g)   proofs of claim filed for $0.00 are not entitled to vote;

              (h)   if the Debtors or another party in interest have served an objection or request
                    for estimation as to a Claim at least ten (10) days before the Voting
                    Deadline, such Claim is temporarily disallowed for voting purposes only,
                    and not for purposes of allowance or distribution, except to the extent and
                    in the manner as may be set forth in such objection, or as ordered by the
                    Court before the Voting Deadline;

              (i)   for purposes of the numerosity requirement of section 1126(c) of the
                    Bankruptcy Code separate Claims held by a single creditor in a particular
                    Class shall be aggregated as if such creditor held one Claim against the
                    Debtors in such Class, and the votes related to such Claims shall be treated
                    as a single vote to accept or reject the Combined Disclosure Statement and
                    Plan for the Debtors;

              (j)   notwithstanding anything to the contrary contained herein, any creditor who
                    has filed or purchased duplicate Claims within the same Voting Class shall
                    be provided with only one Solicitation Package and one ballot for voting a
                    single Claim in such Class, regardless of whether the Debtors have objected
                    to such duplicate Claims; and

              (k)   if a proof of claim has been amended by a later proof of claim that is filed
                    on or prior to the Voting Record Date, the later filed amending claim shall
                    be entitled to vote in a manner consistent with these tabulation rules, and
30997546.2
                                              16
                 Case 23-11962-TMH           Doc 165       Filed 01/11/24     Page 17 of 24




                            the earlier filed claim shall be disallowed for voting purposes, regardless of
                            whether the Debtors have objected to such amended claim. Except as
                            otherwise ordered by the Court, any amendments to proofs of claim after
                            the Voting Record Date shall not be considered for purposes of these
                            tabulation rules.

             Voting Rules

                   (a)      Except as otherwise ordered by the Court, any Ballot received after the
                            Voting Deadline will not be counted absent the consent of the Debtors in
                            their discretion, in consultation with the Committee;

                   (b)      any Ballot that is illegible or contains insufficient information to permit the
                            identification of the claimant will not be counted;

                   (c)      any Ballot cast by a person or entity that does not hold a Claim in a Voting
                            Class as of the Voting Record Date will not be counted;

                   (d)      any Ballot submitted on account of a duplicative Claims against the Debtors
                            will not be counted;

                   (e)      any unsigned Ballot will not be counted, provided that Ballots validly
                            submitted through the E-Balloting Portal will be deemed to contain an
                            immediately legally valid and effective signature;

                   (f)      except in the Debtors’ discretion, in consultation with the Committee, any
                            Ballot transmitted to the Voting Agent by facsimile, e-mail or other
                            electronic means (other than through the E-Balloting Portal) will not be
                            counted;

                   (g)      any Ballot that does not indicate an acceptance or rejection of the Combined
                            Disclosure Statement and Plan, or that indicates both an acceptance and
                            rejection of the Combined Disclosure Statement and Plan, will not be
                            counted;

                   (h)      whenever a claimant casts more than one Ballot voting the same Claim prior
                            to the Voting Deadline, only the last properly executed Ballot timely
                            received will be deemed to reflect the voter’s intent and, thus, will supersede
                            any prior Ballots;

                   (i)      subject to the other Tabulation Procedures, each claimant will be deemed to
                            have voted the full amount of its Claim as set forth on the Ballot;

                   (j)      claimants may not split their vote within a Class; thus, each claimant will
                            be required to vote all of its Claims within the Class either to accept or reject
                            the Combined Disclosure Statement and Plan, and any votes that are split
                            will not be counted; and

30997546.2
                                                      17
                       Case 23-11962-TMH          Doc 165        Filed 01/11/24    Page 18 of 24




                         (k)     subject to any contrary order of the Court, the Debtors further reserve the
                                 right to waive any defects or irregularities or conditions of delivery as to
                                 any particular Ballot.

                 31.     The Debtors request that the Court authorize the Debtors or the Voting Agent, as

         applicable, to determine all questions as to the validity, form, eligibility (including time of receipt),

         acceptance, and revocation or withdrawals of Ballots, which determination will be final and

         binding, absent a contrary ruling of the Court.

                 32.     To assist in the solicitation process, the Debtors request that the Court grant the

         Voting Agent the authority to contact parties that submit incomplete or otherwise deficient Ballots

         to make a reasonable effort to cure such deficiencies, provided that, neither the Debtors nor the

         Voting Agent are required to contact such parties to provide notification of defects or irregularities

         with respect to completion or delivery of Ballots, nor will any of them incur any liability for failure

         to provide such notification.

                 33.     The Voting Agent is required to retain all paper copies of Ballots and all

         solicitation-related correspondence for one (1) year following the Effective Date, whereupon, the

         Voting Agent is authorized to destroy and/or otherwise dispose of all paper copies of Ballots;

         printed solicitation materials including unused copies of the Solicitation Package; and all

         solicitation-related correspondence (including undeliverable mail), in each case unless otherwise

         directed by the Debtors or the Clerk of the Court in writing within such one (1) year period.

                 34.     Upon completion of balloting, the Voting Agent will certify the amount and number

         of allowed Claims in the Voting Classes accepting or rejecting the Combined Disclosure Statement

         and Plan with the assistance of the Debtors and case professionals. The Debtors will file such

         certification (the “Voting Declaration”) with the Court on or before March 7, 2024, at 12:00 p.m.

         (prevailing Eastern Time).


30997546.2
                                                            18
                      Case 23-11962-TMH          Doc 165        Filed 01/11/24    Page 19 of 24




                35.     The Debtors propose that any Holder of a Claim who seeks to challenge the

         allowance of a Claim for voting purposes must file a motion, pursuant to Bankruptcy Rule 3018(a),

         for an order temporarily allowing the Claim in a different amount or classification for purposes of

         voting to accept or reject the Plan (a “Rule 3018 Motion”). A Rule 3018 Motion must be served

         on the Debtors’ counsel so that it is received no later than February 29, 2024, eastern time.

         However, if a Rule 3018 Motion is filed in response to a claim objection filed against a Holder’s

         claim, the Rule 3018 Motion must be served on the Debtors’ counsel no later than 4:00 p.m.

         (prevailing Eastern Time) on the date that is fourteen (14) days after service of such claim

         objection. The Debtors (and, with respect to filing a response, any other party in interest) will then

         have fourteen (14) days after service of the Rule 3018 Motion to file and serve any responses to

         the same. If a Rule 3018 Motion is not consensually resolved, such Rule 3018 Motion will be

         adjudicated as part of the Confirmation Hearing.

                36.     The Debtors respectfully submit that the Tabulation Procedures are appropriate and

         reasonable under the circumstances and should be approved.

         D.     Establishment of Voting Record Date

                37.     Bankruptcy Rule 3017 provides that the bankruptcy court may set the date on which

         the disclosure statement is approved or another date as the record date for determining which

         holders of securities are entitled to receive solicitation materials, including ballots for voting on a

         chapter 11 plan. See Fed. R. Bankr. P. 3017(d).

                38.     The Debtors propose that the Court establish January 30, 2024 as the record date

         (the “Voting Record Date”) for purposes of determining which Holders of Prepetition Loan Claims

         and General Unsecured Claims are entitled to receive a Ballot to vote to accept or reject the

         Combined Disclosure Statement and Plan. Only Holders of Prepetition Loan Claims and General


30997546.2
                                                           19
                      Case 23-11962-TMH          Doc 165       Filed 01/11/24   Page 20 of 24




         Unsecured Claims are entitled to vote. Establishing January 30, 2024 as the Voting Record Date

         will provide sufficient time for the Debtors and the Voting Agent to ensure that the Solicitation

         Packages can be mailed by the Service Date.

                39.     With respect to any transferred Claim, the Debtors propose that the transferee will

         be entitled to receive and cast a Ballot on account of such transferred Claim only if (a) all actions

         necessary to effect the transfer of the Claim pursuant to Bankruptcy Rule 3001(e) have been

         completed by the Voting Record Date (including, without limitation, the passage of any applicable

         objection period) or (b) the transferee files, no later than the Voting Record Date, (i) the

         documentation required by Bankruptcy Rule 3001(e) to evidence the transfer and (ii) a sworn

         statement of the transferor supporting the validity of the transfer.

                40.     Where any portion of a single Claim has been transferred to a transferee, the

         Debtors propose that all Holders of any portion of such single Claim may be (i) treated as a single

         creditor for purposes of the numerosity requirements in section 1126(c) of the Bankruptcy Code,

         and (ii) required to vote every portion of such Claim collectively to accept or reject the Plan. In

         the event that (i) a Ballot, (ii) a group of Ballots within a Voting Class received from a single

         creditor, or (iii) a group of Ballots received from the various Holders of multiple portions of a

         single Claim partially reject and partially accept the Plan, such Ballots may not be counted in the

         Debtors’ discretion.

         E.     Confirmation Hearing, Confirmation Objection Deadline, and Notice Thereof

                41.     Bankruptcy Rule 3017 provides that, on or before the approval of a disclosure

         statement, a bankruptcy court “may fix the date for the hearing on confirmation.” See Fed. R.

         Bankr. P. 3017(c). Section 105 of the Bankruptcy Code expressly authorizes a court to “issue an

         order . . . that . . . provides that the hearing on approval of the disclosure statement may be


30997546.2
                                                          20
                      Case 23-11962-TMH          Doc 165       Filed 01/11/24    Page 21 of 24




         combined with the hearing on confirmation of the plan” where the bankruptcy court deems a

         combined hearing to be “appropriate to ensure that the case is handled expeditiously and

         economically.” See 11 U.S.C. § 105(d)(2)(B)(vi); see also In re Gulf Coast Oil Corp., 404 B.R.

         at 425 (“Section 1125(f) authorizes combined plans and disclosure statements in small business

         cases and § 105(d) authorizes the court to combine them in other cases.”); In re Luminent Mortg.

         Capital Inc., Case No. 08-21389 (Bankr. D. Md. May 15, 2009).

                42.     Consistent with the foregoing authority, the Debtors respectfully request that the

         Confirmation Hearing, to consider confirmation of the Combined Disclosure Statement and Plan,

         including final approval of the adequacy of the disclosures therein, be set for March 11, 2024, or

         as soon thereafter as the Court is available. The Debtors submit that a combined hearing will

         streamline and expedite the Confirmation process, which will inure directly to the benefit of

         creditors by allowing the Debtors to implement the Combined Disclosure Statement and Plan in a

         timely and efficient manner and limiting the amount of time the Debtors remain in chapter 11.

         Under the circumstances, a combined hearing will spare the Debtors from additional administrative

         expenses associated with a two-stage process, and promote judicial efficiency and economy.

                43.     In the interests of orderly procedure, the Debtors further request that objections to

         confirmation of the Combined Disclosure Statement and Plan, including final approval of the

         adequacy of the disclosures contained therein, if any, must (a) be in writing and (b) be filed with

         the Court and served on the Notice Parties, so that they are received no later than 4:00 p.m.

         (prevailing Eastern Time) on March 4, 2024 (the “Confirmation Objection Deadline”). The

         Debtors shall, if they deem necessary in their discretion, and any other party in interest may, file a

         reply to any such objections or brief in support of approval of the Combined Disclosure Statement




30997546.2
                                                          21
                      Case 23-11962-TMH           Doc 165       Filed 01/11/24    Page 22 of 24




         and Plan by no later than 12:00 p.m. (prevailing Eastern Time) on March 7, 2024 (or one (1)

         business day prior to the date of any adjourned Confirmation Hearing).

                44.     Bankruptcy Rule 2002(b) requires that the Debtors provide notice to all creditors

         and parties in interest at least twenty-eight (28) days prior to the deadline for filing objections to

         confirmation of the Combined Disclosure Statement and Plan, and the hearing on the final approval

         of the Combined Disclosure Statement and Plan. Local Rule 3017-1 requires that the hearing on

         the final approval of the Combined Disclosure Statement and Plan be at least thirty-five (35) days

         after the Service Date. Bankruptcy Rule 2002(d), in turn, requires that equity security holders be

         given notice of these matters in the manner and form directed by the Court.

                45.     The Confirmation Notice sets forth, among other things, (i) the Confirmation

         Objection Deadline, (ii) the time, date, and place of the Confirmation Hearing, and

         (iii) instructions on how to obtain a copy of the Combined Disclosure Statement and Plan free of

         charge. The Debtors will cause the Confirmation Notice to be served by the Service Date on the

         following parties: (a) all persons or entities that have filed, or are deemed to have filed a proof of

         Claim or request for allowance of Claim as of the Voting Record Date; (b) all persons or entities

         listed on the Schedules as holding a Claim or potential Claim; (c) the Securities and Exchange

         Commission and any regulatory agencies with oversight authority of the Debtors; (d) the Internal

         Revenue Service; (e) the United States Attorney’s office for the District of Delaware; (f) other

         known Holders of Claims (or potential Claims) and Interests; (g) all entities known by the Debtors

         to hold or assert a lien or other interest in the Debtors’ property; and (h) any other parties that have

         requested notice pursuant to Bankruptcy Rule 2002. Under the Debtors’ proposed timeline set

         forth herein, the Confirmation Notice will be served at least twenty-eight (28) days prior to the




30997546.2
                                                           22
                      Case 23-11962-TMH         Doc 165        Filed 01/11/24   Page 23 of 24




         Confirmation Objection Deadline, and more than thirty-five (35) days prior to the Confirmation

         Hearing.

                46.     The Debtors submit that the foregoing procedures for providing notice of the

         Confirmation Hearing, the Confirmation Objection Deadline, and related matters fully comply

         with Bankruptcy Rules 2002 and 3017, Local Rule 3017, and the time limits set forth therein, are

         consistent with sections 105, 1126(f) and 1126(g) of the Bankruptcy Code and Bankruptcy Rule

         3017(d) with respect to parties that are not entitled to vote on the Combined Disclosure Statement

         and Plan, are both fair to Holders of Claims or Interests and other parties in interest, and are

         designed to permit an organized and efficient Confirmation Hearing. Accordingly, the Debtors

         respectfully request that the Court approve such notice procedures as appropriate under the

         circumstances of the Chapter 11 Cases and in compliance with the requirements of the Bankruptcy

         Code, the Bankruptcy Rules, and the Local Rules.

                                                      NOTICE

                47.     The Debtors will provide notice of this Motion to: (i) the U.S. Trustee; (ii) counsel

         to the Stalking Horse Bidder, prepetition lenders and DIP lenders; (iii) counsel to the Official

         Committee of Unsecured Creditors; and (iv) any party that has requested notice pursuant to

         Bankruptcy Rule 2002. In light of the nature of the relief requested in this Motion, the Debtors

         respectfully submit that no further notice is necessary.




30997546.2
                                                          23
                     Case 23-11962-TMH          Doc 165        Filed 01/11/24   Page 24 of 24




                                                  CONCLUSION

                WHEREFORE, the Debtors respectfully request that the Court enter the Proposed

         Solicitation Procedures Order substantially in the form attached hereto as Exhibit A, granting the

         relief requested herein and such other and further relief as the Court deems just and proper.

         Dated: January 11, 2024
                Wilmington, Delaware

                                                  YOUNG CONAWAY STARGATT & TAYLOR,
                                                  LLP

                                                   /s/ Shane M. Reil
                                                   Edmon L. Morton (No. 3856)
                                                   Matthew B. Lunn (No. 4119)
                                                   Shane M. Reil (No. 6195)
                                                   Carol E. Cox (No. 6936)
                                                   Rodney Square
                                                   1000 North King Street
                                                   Wilmington, Delaware 19801
                                                   Telephone: (302) 571-6600
                                                   Facsimile: (302) 571-1253
                                                   emorton@ycst.com
                                                   mlunn@ycst.com
                                                   sreil@ycst.com
                                                   ccox@ycst.com

                                                  -and-

                                                  WILLKIE FARR & GALLAGHER LLP
                                                  Rachel C. Strickland (admitted pro hac vice)
                                                  Andrew S. Mordkoff (admitted pro hac vice)
                                                  Joseph R. Brandt (admitted pro hac vice)
                                                  787 Seventh Avenue
                                                  New York, New York 10019
                                                  Telephone: (212) 728-8000
                                                  Facsimile: (212) 728-8111
                                                  rstrickland@willkie.com
                                                  amordkoff@willkie.com
                                                  jbrandt@willkie.com

                                                  Co-Counsel to the Debtors
                                                  and Debtors in Possession


30997546.2
                                                          24
